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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
IN RE: DAVOL, INC./C.R. BARD, Case No. 2:18-md-2846
INC., POLYPROPYLENE HERNIA
MESH DEVICES LIABILITY
LITIGATION CHIEF JUDGE EDMUND A. SARGUS, JR.
Magistrate Judge Kimberly A. Jolson
This document relates to:
ALL ACTIONS.

CASE MANAGEMENT ORDER NO. 14

Regarding Plaintiff Fact Sheets

This Court hereby issues the following Case Management Order to govern the form,
procedure, and schedule for the completion and service of the Plaintiff Fact Sheets (“PFS”) and

other documents referenced therein.

L Scope of this Order
This Order applies to all Plaintiffs, Defendants and their counsel in: (a) all actions selected

as Bellwether Pool Cases pursuant to CMO 10 and the Court’s forthcoming order. The obligation
to comply with this CMO and to provide a PFS shall fall solely on the Plaintiff(s) in an individual
case and the individual counsel representing the Plaintiff(s). As with all case-specific discovery,
the members of the PSC or PEC are not obligated to conduct case-specific discovery for Plaintiffs

by whom they have not been individually retained.
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il. Plaintiff Fact Sheets
A. The PFS Form and Service

1. Each Bellwether Plaintiff, whose case was selected on January 31, 2019 pursuant
to CMO 10, shall complete and serve upon Defendants via email a completed PFS, the form of
which has been agreed to by the parties and approved by the Court, which is attached as Exhibit
A.

2. In accordance with CMO 10, the PFS for the 12 Plaintiffs whose cases have
been selected as potential Bellwether trial cases shall be due on or before March 25, 2019.

3. The completed PFS and the duly executed authorizations to obtain discoverable
records shall be served upon Defendants’ counsel via email at:
FederalBardService@ReedSmith.com. A copy of the PFS shall be sent to the PEC’s designee at
bardmd|lpfs@fleming-law.com.

B. Amendments
Each Plaintiff shall remain under a continuing duty to supplement the information

provided in the PFS.

C. PFS Deficiency Dispute Resolution

1. Phase I: Deficiency Letter
a. If Defendants deem a PFS deficient, then Defendants’ counsel shall notify

Plaintiffs attorney of record of the purported deficiencies via email and allow such Plaintiff 14
days from the date of notification to correct the alleged deficiency. A courtesy copy of the email
shall be sent to the PEC’s designee at bardmdlpfs@fleming-law.com.

b. Defendants shall include sufficient detail regarding the alleged

deficiency(ies).
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2. Phase II: Meet and Confer
Should a Plaintiff not respond to the deficiency letter within the time required,
then Defendants may request a meet and confer. Defendants’ counsel shall notify Plaintiff's
attorney of record via email of the request to meet and confer and state that the meet and confer
shall occur within 7 days. A courtesy copy of the email shall be sent to the PEC’s designee at
bardmdipfs@fieming-law.com. The parties’ meet and confer period shall begin upon receipt of the
email by Plaintiff's attorney of record and, absent agreement of the parties, shall be completed by

the conclusion of the 7 days.

3. Phase III: Motion to Compel

a. Following the meet and confer period, should Plaintiff: (i) fail to cure the
stated deficiency(ies); (ii) fail to assert objections to same; (iii) fail to respond to or participate in
the meet and confer process; or (iv) otherwise fail to provide responses, and absent agreement of
the parties to further extend the meet and confer period, at any time following expiration of the 7
day meet and confer period, Defendants may then file a Motion to Compel the allegedly deficient
discovery information via ECF, with a courtesy copy sent via email to Plaintiffs attorney of record
and to the PEC’s designee at bardmdlpfs@fleming-law.com.

b. Any motion to compel pursuant to this CMO need not be noticed for
presentment as required by Local Rule 7.1.

c. Any response to such a motion shall be filed and served within 14 days
following the date of service. Any reply, if necessary, shall be filed within 5 days following the

date of service of the opposition.

d. Absent an Order from the Court granting a request by either or both parties

for oral argument, the Court will rule on such motions without hearing argument.
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D. Failure to Serve a PFS
1. A Bellwether Plaintiff may request one extension of 7 days to serve a completed
PFS, which Defendants shail not unreasonably withhold. Such requests must be made via email to
Defendants’ counsel before the expiration of the deadline, with a courtesy copy sent to the PEC’s

designee at bardmdlpfs@fleming-law.com.

2. Phase I: Notice of Non-Compliance
a. Should any Plaintiff fail to serve a PFS within the time required in this

CMO, Defendants shall send a Notice of Non-Compliance letter via email to that Plaintiff's
attorney of record, with a courtesy copy to the PEC’s designee at bardmdlpfs@fleming-law.com.

b. Following the receipt of the Notice of Non-Compliance, the Plaintiff shall

have 7 days to serve the PFS.

3. Phase It: Motion to Compel
a. Should a Plaintiff fail to provide an executed PFS following the time period

allowed above, Defendants may then move the Court for a motion to compel via ECF, with a
courtesy copy sent via email to Plaintiff's attorney of record and to the PEC’s designee at
bardmdipfs@fleming-law.com. No meet and confer shall be required for such a motion.

b. Any motion to compel pursuant to this CMO need not be noticed for
presentment as required by Local Rule 7.1.

c. Any response to such a motion shall be filed and served within 7 days
following the date of service. Any reply, if necessary, shall be filed within 5 days following the

date of service of the opposition.

d. Absent an Order from the Court granting a request by either or both parties

for oral argument, the Court will rule on such motions without hearing argument.
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E. Authorizations for PFS

In accordance with CMO 8a, the parties agree that, if a Plaintiff does not date the
Authorizations attached to the PFS and forwarded to Defendants, then Defendants can date the
Authorizations with the date the PFS was served via email to Defendants. Leaving the date on
Authorizations blank when forwarded to Defendants shall not constitute a deficiency under this
CMO.

Individual plaintiffs’ counsel may, by agreement, allow Defendants to fill in any other
missing information to avoid a deficiency, including health care provider, patient name, social
security number, date of birth, or employer. In no event shall this consent be construed to allow
Defendants to fill in missing information that is not listed in the PPF or PFS unless Defendants
receive express written authorization from Plaintiff's counsel in an individual case.

Absent an agreement, not including information in the Authorization, other than the date
as discussed above, will be addressed pursuant to Section C above. Not signing the Authorizations
is considered a deficiency under this CMO.

Should any healthcare provider from which Defendants seek records require a proprietary
or special authorization, Defendants shall forward same to Plaintiff’s counsel. Plaintiffs counsel
will endeavor to use their best efforts to have Plaintiff execute said proprietary or special
authorization within 14 days of receiving a copy of the requested proprietary or special

authorization from Defendants.

Ill. Access to Medical Records through Litigation Management, Inc. (LMD

The parties have agreed that Defendants will provide Plaintiffs in each Bellwether Pool
case with copies of medical records obtained with authorizations provided along with the PPF or

PFS. Upon a written request by counsel for the Plaintiff(s) in a Bellwether Pool case, Defendants
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will provide the records within 7 days, along with a bill from LMI for any pass through costs
associated with reproducing the records that LMI already obtained for Defendants. Plaintiff's
counsel will then remit payment to Defendants or LMI within 7 days of receipt of the records,
IV. Confidentiality

All information disclosed in a PFS, the PFS itself, and all related documents (including
health care information) produced pursuant to the PFS or from the authorizations provided
therewith shall be deemed confidential and treated as “Confidential Information” under Case
Management Order No. 7.

IT IS SO ORDERED.

3-7-2019

DATE ED A. SARGUS, JR.
CHI ITED STATES DISTRICT JUDGE

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KIMBERLY A. JOLSON
UNITED STATES MAGISTRATE JUDGE

 
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UNITED STATES DISTRICT COURT
THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: DAVOL, INC/C.R. BARD, INC.,
POLYPROPYLENE HERNIA MESH Case No. 2:18-md-2846

PRODUCTS LIABILITY LITIGATION CHIEF JUDGE EDMUND A. SARGUS, JR.
Magistrate Judge Kimberly A. Jolson

This document relates to: _. .
PLAINTIFF NAME. Civil Action No.

FF HE

Those plaintiffs who have been selected, or in the future are selected, as a Bellwether Case
and who allegedly suffered injury as a result of a DAVOL/BARD Hernia Mesh Device must
complete this Plaintiff Fact Sheet. In completing this Fact Sheet, you are under oath and must
provide information that is true and correct to the best of your knowledge. Please answer every
question to the best of your knowledge. Do not leave any blanks throughout this Fact Sheet. If you
cannot recall all of the details requested, please provide as much information as you can and then
state that your answer is incomplete and explain why as appropriate. If you select an “I Don’t
Know” answer, please state all that you do know about that subject. If you do not have room in the
space provided to complete an answer, please attach as many sheets of paper as necessary to fully
answer the questions set out below. If you are completing the Fact Sheet for someone who has died
or who cannot complete the Fact Sheet him/herself, please answer as completely as youcan. If any
of the information you need to complete any part of the Fact Sheet is in the possession of your
attorney, please consult with your attorney so that you can fully and accurately respond to the
questions set out below.

The Fact Sheet shall be completed in accordance with the requirements and guidelines set
forth in the applicable Case Management Order. A completed Fact Sheet shall be considered
interrogatory responses pursuant to Federal Rules of Civil Procedure 33 and 34 and will be
governed by the standards applicable to written discovery under Federal Rules of Civil Procedure

26 through 37.

You must supplement your responses if you learn that they are incomplete or incorrect in
any material respect. Should you need to correct or supplement any response made here, please
contact your attorneys, and they will assist you in doing so.

As used in this Plaintiff Fact Sheet, “Davol/Bard Hernia Mesh” and “Davol/Bard Hernia

Mesh Device” refer to the medical device or devices identified in paragraph 7 of your Short Form

Complaint or, if no Short Form Complaint has been filed in the individual action, the device

identified as the device at issue in plaintiff's operative complaint. In filling out this form, please

use the following definition: “healthcare provider” means any doctor, physician, surgeon,

pharmacist, hospital, clinic, center, physician’s office, infirmary, medical or diagnostic laboratory,
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or other facility that provides medical care or advice, and any pharmacy, x-ray department,
radiology department, laboratory, physical therapist or physical therapy department, rehabilitation
specialist, chiropractor, or other persons or entities involved in the diagnosis, care and/or treatment
of you.

I. CASE INFORMATION

A. Name of person who received the DAVOL/BARD Hernia Mesh Device(s):

 

B. Name of Plaintiff (if different from above) and the relationship of the person completing this
form to the person in I(A) above:

 

 

 

C. Provide the following information for the lawsuit that has been filed:
1. Case caption:
2. Civil action number:

 

 

D. if the person completing this Fact Sheet is doing so in a representative capacity (e.g., on
behalf of the estate of a deceased person, or on behalf of a minor), please provide the
following (otherwise skip to Section II):

1. Your current address:

 

 

2. State in what capacity you are representing the individual or estate (for example, as
executor, as personal representative, etc.):

 

3. If you were appointed as a representative by a court, then state:

a. Court that appointed you:

 

 

b. Date of appointment:

 

4. If you represent a decedent’s estate, then state:

a. Decedent’s date of death:

 

b. Home address of decedent at time of death:

 

 

c. Your relationship to the deceased or represented person:
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d. If you represent a decedent, please attach a copy of the Decedent’s death
certificate and autopsy report, if any.

E. Full name of the person completing this form, if different from the person listed in I(A), I(B)
or I(D) above, and the relationship of the person completing this form to the person in I(A),
I(B), or I(D) above:

 

F. Name, address, telephone number, fax number and email address of principal attorney
representing you:

Name:

 

Firm:

 

Address:

 

 

Telephone Number: Fax Number:

E-mail Address:

 

THE REST OF THIS FACT SHEET REQUESTS INFORMATION ABOUT THE PERSON

WHO RECEIVED THE DAVOL/BARD HERNIA MESH DEVICE(S). Those questions using
the term “You” refer to the person who received the DAVOL/BARD Hernia Mesh Device as
identified in question I(A) above. Therefore, if you are completing this questionnaire in a
representative capacity, please respond to the remaining questions as if they are asking about the
person who received the DAVOL/BARD Hernia Mesh Device(s). If the individual is deceased,
please respond as of the time immediately prior to his or her death unless a different time period

is specified.

 

 

 

 

 

 

II. ATI

A. Prefix (Mr., Ms., Rev., Dr., etc.):___—_/ First name:

Last name: / Suffix (Sr., Jr., ete.):

Middle name:

Maiden name (if any):
B. Other names by which you have been known (from prior marriages or otherwise):
C. Male Female
D. Social Security number:

E, Date and place of birth:

 
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F. Present home address:

 

 

1. How long have you lived at this address?

 

 

2. Identify the name and age of any person(s) who currently resides with you and their
relationship to you:

 

 

 

G. Identify each prior home address where you have lived during the last 10 years:

 

 

 

 

 

 

 

 

 

 

Prior Address Dates You Lived At This Address
H. Are you currently married? Yes No
If Yes, please provide:
L. Spouse’s name:

 

 

2. Spouse’s date of birth:

 

 

 

3. Spouse’s occupation:

4, Date of marriage:

5. Were you married before this:
Yes No

 

 
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If Yes, please tell us:

i. Spouse’s name: ee
ii. Approximate dates of the marriage:
iti. Result of the marriage:

I. Identify all schools you attended, starting with high school:

 

Name of School Address Dates of Degree Major or
Attendance Awarded Primary Field

 

 

 

 

 

 

 

 

 

 

J. Please provide the following information for your employment history over the past 10 years,
Note: If you are not claiming lost wages or lost earning capacity, you are not required to provide your
salary or rate of compensation:

 

 

 

 

 

 

 

 

 

 

Employer/Company Address Occupation/ Dates of Employment | Salary /Rate
Job Title of Pay
K. At any time in the past 10 years have you missed work for more than 10 consecutive days
for reasons related to your health and not due to a cold or flu? Yes No

If No, skip to Part ILL., below.

If Yes, for each such instance:

 
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1. Provide the approximate dates of your absence from work:

 

 

2. Identify by name and address your employer at that time:

 

 

3. Describe the health condition that prevented you from working, including
whether/how the condition resolved such that you were allowed to return to work:

 

 

 

 

 

L. Have you ever served in any branch of the military? Yes No

If No, skip to Part II.M, below.

 

 

If Yes:

1, Branch and dates of service:

2. If Yes, were you ever discharged for any reason relating to a medical or physical
condition?

3. If Yes, state what that condition was:

 

 

M. Have you ever been rejected from military service for any reason relating to your health or
physical condition? Yes No

 

If No, skip to Part IT.N, below.

If Yes:

1. Describe the reason(s) you were rejected from military service.

 

 

 

I. I EXPL
A. Did you receive a DAVOL/BARD Hernia Mesh Device? Yes No

How many?
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Please give the following information for each DAVOL/BARD Hernia Mesh Device(s) you
received or believe you may have received (attach additional sheets as necessary):

1.

The date the DAVOL/BARD Hernia Mesh Device(s) that you identified in your
Plaintiff Profile Form was implanted in you:

 

Provide the size, product code or model number, and lot number of the
DAVOL/BARD Hermia Mesh Device(s) you received

 

 

Describe the medical condition(s) for which you received the DAVOL/BARD
Hernia Mesh Device(s):

 

 

 

 

Identify who diagnosed you with that medical condition:

 

 

 

Identify the doctor and hospital or other facility that implanted the DAVOL/BARD
Hemia Mesh Device(s):

 

 

 

 

Prior to implantation, were you given any written warnings, instructions, or other
information regarding the DAVOL/BARD Hernia Mesh Device(s) and/or potential
complications of your surgery? Yes No I Don’t Know

a. If Yes:

i, Provide the approximate date you received the warnings,
instructions, or other information.

ii. Identify by name, if you can, the person(s) who provided the
warnings, instructions, or other information,

ili. Provide a copy in accordance of Doc Request X.B.7.

Prior to implantation, were you given any oral warnings or instructions regarding
the DAVOL/BARD Hernia Mesh Device(s) and/or potential complications of your
surgery? Yes No I Don’t Know

a. If Yes:

1. Provide the approximate date you received the warnings or
instructions.

ii. Identify by name, if you can, the person(s) who provided the
warnings or instructions.

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B. Was the DAVOL/BARD Hernia Mesh Device(s) that you received removed in whole or in
part? Yes No I Don’t Know

If No, skip to Part ITI.C., below.

If Yes:

a,

Did a healthcare professional advise you to have the DAVOL/BARD Hernia
Mesh Device(s) removed in whole or in part prior to the actual removal

surgery?
Yes No I Don’t Know

If Yes:

i. Provide the date(s) that any healthcare professional advised you to
have the DAVOL/BARD Hernia Mesh Device(s) removed in whole
or in part:

 

 

 

ii. What reason did the healthcare professional give for his/her
recommendation that the DAVOL/BARD Hemia Mesh Device(s) be
removed?

 

 

 

 

iii. Identify by name and address the healthcare professional who
advised you to have the DAVOL/BARD Hernia Mesh Device(s)
removed in whole or in part:

 

 

 

 

 

Provide the date(s) the DAVOL/BARD Hernia Mesh Device was removed in
whole or in part:

 

 

 

Identify by name and address the doctor, hospital, or other facility that
removed the DAVOL/BARD Hernia Mesh Device(s) in whole or in part:

 

 

 

 

 
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Do you know the current location of your removed DAVOL/BARD Hernia
Mesh Device(s)? Yes No I Don’t Know

If Yes:

i. Please identify who is in possession of your removed
DAVOL/BARD Hernia Mesh Device(s):

 

 

If No:
i. Do you know whether your DAVOL/BARD Hernia Mesh Device(s) was
destroyed? Yes No I Don’t Know

If Yes, please tell us how you know it was destroyed and, if you
know, who destroyed it:

 

 

 

Has the explanted DAVOL/BARD Hernia Mesh Device(s) or other material
been returned to Davol, Inc. or C.R. Bard, Inc.?

Yes No I Don’t Know
If Yes:
i. Provide the date the DAVOL/BARD Hernia Mesh Device(s) or other
materials were returned:

 

 

ii. Identify by name and address the person(s) who returned the
removed DAVOL/BARD Hernia Mesh Device(s) or other materials:

 

 

 

 

iii. Identify by name and address the person(s) who received the
removed DAVOL/BARD Hernia Mesh Device(s) or other materials:

 

 

 

 

Cc. IF YOUR DAVOL/BARD HERNIA MESH DEVICE(S) HAS NOTJT BEEN
REMOVED IN WHOLE OR IN PART, please answer the following questions.

a.

Has any doctor or other health care professional advised you to have the
DAVOL/BARD Hernia Mesh Device(s) removed?

Yes No I Don’t Know

 

If Yes:
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iii.

iv.

Provide the date that any doctor or other health care professional
advised you to have the DAVOL/BARD Hermia Mesh Device(s)
removed in whole or in part:

 

 

 

What reason did the doctor or other health care professional give for
his/her recommendation that the DAVOL/BARD Hernia Mesh
Device(s) be removed?

 

 

 

 

Identify by name and address the doctor or other health care
professional who advised you to have the DAVOL/BARD Hernia
Mesh Device(s) removed in whole or in part:

 

 

 

 

Why have you not had the DAVOL/BARD Hernia Mesh Device(s)
removed?

 

 

 

 

b. Has any doctor or other health care professional advised you not to have the
DAVOL/BARD Hernia Mesh Device(s) removed?
Yes No I Don’t Know |

If Yes:

i.

iii.

Identify by name and address any doctor or other health care
professional who has advised you not to have the DAVOL/BARD
Hernia Mesh Device(s) removed:

 

 

 

 

Provide the date you were so advised:

 

What reason did the doctor or other healthcare professional give for
his/her recommendation that the DAVOL/BARD Hernia Mesh
Device(s) not be removed?

 

 

 

 

 

 

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c. Do you intend to have the DAVOL/BARD Hernia Mesh Device(s) removed?
Yes No I Don’t Know

If Yes:

i. Provide the approximate date when it will be removed:

 

ii, Identify by name and address the doctor, hospital, or other facility
that you intend will perform the removal surgery:

 

 

 

Iv. INJURIES/DAMAGES

A. Do you claim that you suffered physical and/or bodily injury resulting from your use
of the DAVOL/BARD Hernia Mesh Device? Yes No___

If No, skip to Part IV.B., below.
If Yes, provide the following information:
1. Please describe in detail your physical injury(ies) and/or bodily injury(ies) you

claim were caused as result of your use of DAVOL/BARD Hernia Mesh
Device(s):

 

 

 

 

 

 

 

 

2. When did you first attribute these bodily injuries to the DAVOL/BARD
Hernia Mesh Device(s).

 

3. Are you currently experiencing any physical or bodily injuries as result of your
DAVOL/BARD Hernia Mesh Device(s) Yes _ No __

If Yes, please describe your current symptoms in detail if different than that which is set forth
in Question B.1. above.

 

 

 

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4. Are you currently seeing, or have you ever seen a doctor or healthcare provider
for the physical injuries and/or bodily injuries you claim in Section IV. A.1, above? Yes = No __

If Yes, please list all doctors and healthcare providers you have seen for treatment of any of
the physical injuries and/or bodily injuries you claim in Section IV. A.1., above.

 

Provider Name and Address |Condition Approx. Date | Treatment Rendered
treated of Medical
Attention

 

 

 

 

 

 

 

 

 

 

5. Were you hospitalized at any time for the physical and/or bodily injury(ies) you
suffered as a result of DAVOL/BARD Hernia Mesh Device(s)? Yes No __

If Yes, please provide the following:

 

Hospital Name and Address | Condition Treated Approximate Date(s) of
Treatment

 

 

 

 

 

 

 

 

 

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6. Has any doctor attributed your physical and/or bodily injuries to the DAVOL/BARD

 

Hernia Mesh Device(s)? Yes No I Don’t Know =
If Yes:
d. Provide the approximate date that a doctor or other health care practitioner

first advised you that these bodily injuries were attributed to the
DAVOL/BARD Hernia Mesh Device(s) that you received:

 

 

€. Identify by name and address the doctor, hospital, or other facility that
attributed these bodily injuries or symptoms to your DAVOL/BARD Hernia
Mesh Device(s):

 

 

 

 

 

B. Do you claim to have suffered any psychiatric or psychological injuries requiring medical
treatment as a result of your implantation of the DAVOL/BARD Hernia Mesh Device(s)?
Yes No

 

If No, skip to Part IV.C., below.

Lf Yes:

2. Are you currently seeing, or have you seen, a psychiatrist, psychologist or any other
mental healthcare professional as a result of your implantation of the
DAVOL/BARD Hernia Mesh Device(s).

Yes No

3, Describe your psychiatric and/or psychological injuries as a result of your
mnplantation of the DAVOL/BARD Hernia Mesh Device(s):

 

 

 

 

 

 

4, Provide the following information for any doctor, psychiatrist, psychologist, or
other mental health professional who has treated you or is now treating and/or
advising you for your injuries:

a. Dates of treatment:

 

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c. Address:

 

 

 

5. Has any doctor, psychiatrist, psychologist, or other mental health professional
attributed these psychiatric and/or psychological injuries to the DAVOL/BARD
Hernia Mesh Device(s)?

Yes No I Don’t Know
If No, skip to Part IV.C., below.

If Yes:

a. Identify by name and address the doctor, hospital, or other facility that
attributed these psychiatric and/or psychological injuries to your
DAVOL/BARD Hermia Mesh Device(s):

 

 

 

 

Cc. Do you claim that you have experienced lost wages or lost earning capacity resulting from
your use of the DAVOL/BARD Hernia Mesh Device(s)? Yes No

 

If No, skip to Part IV.D., below.

If Yes:

a. Identify the employer:

 

 

b. State the approximate amount of time which you have lost from work as a result of
the injuries you believe were caused by your use of the DAVOL/BARD Hernia
Mesh Device(s):

 

 

 

c. State the approximate amount of lost income through your employment:

 

[Attach additional sheets as necessary to provide the same information for any other
lost income or lost earning capacity for any additional employers.]

D. Have you expended any out-of-pocket expenses as a result of your DAVOL/BARD Hernia
Mesh Device(s)?

Yes No

 

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If Yes:

a. Please identify and itemize all out-of-pocket expenses you have incurred:

 

 

 

 

E. Was any portion of your surgery or any other medical procedures relating to your surgery
or physical and/or bodily injury claimed herein covered by health insurance, Medicare or

Medicaid?
Yes No I Don’t Know

F, Do you have any outstanding bills for your medical care and treatment as a result of any
injury(ies) and/or bodily injury(ies), including any surgery or any other medical procedures
relating to your claims in this case, and the approximate amount owed.

Yes No I Don’t Know

 

 

 

 

 

V. RLEGAL TOR TI
A. Have you ever filed a lawsuit other than the present suit, relating to any bodily injury within
the past 10 years? Yes No
If Yes, please explain the nature of the case, where it was filed, the case number, and
identify your lawyer:
B. Have you applied for workers’ compensation, social security, or state or federal disability
benefits within the past 10 years? Yes No

 

If Yes, then as to each application, separately state:

1. Date (or year) of application:

 

2. Type of benefits:

 

3. Nature of claimed injury/disability:

 

4. Period of disability:

 

5. Amount awarded:

 

6. Basis of your claim:

 

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7. Was claim denied? Yes No

 

8. To what agency or company did you submit your application:

 

9, Claim/docket number, if applicable:

Cc. In the last 10 years, have you been convicted of, or pled guilty to, a felony and/or crime
of fraud or dishonesty? Yes No

 

If No, skip to Part III, below.
If Yes:

i Please set forth where, when and the felony and/or crime.

 

 

 

 

D. Have you filed for bankruptcy in the past 7 years?
Yes No

If yes, identify the court in which the bankruptcy proceeding was filed, the date of the
filing, the case number, and the current status:

 

 

 

 

 

VI. MEDICAL BACKGROUND

A, Provide your current: Age / Height / Weight

B. At the time you received your first DAVOL/BARD Hernia Mesh Device, please state:
Your age / Your approximate weight

C. In chronological fashion, identify (1) any and all prior hernia surgeries and/or any surgeries

where a permanent material was implanted in your body (other than sutures) and (2) all surgeries
that you have undergone since 10 years before the date of the implantation of your first
DAVOL/BARD Hernia Mesh Device:

 

Approx. Date Description of Surgery Doctor or Healthcare Provider Involved

 

 

 

 

 

 

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[Attach additional sheets as necessary to provide the requested surgical
information]

D. Other than the DAVOL/BARD Hernia Mesh Device(s) that is/are subject of your lawsuit,
have you been implanted with any other hernia mesh products, biologic products for hernia repair, or
absorbable products for hernia repair? Yes No

If Yes, please provide the following information:

a. Product Name(s):

 

b, Date of implantation procedure(s) and name and address of implanting doctor(s):

 

 

 

 

c. Condition(s) sought to be treated through placement of the product(s):

 

 

d. Whether the product(s) remain implanted inside of you today?
Yes No Don’t Know

E. To the extent not already provided in the charts at Part VIC. and Part VI.D., above, provide
the name, address, and telephone number of every doctor, hospital, or other health care provider from
which you have received medical or healthcare advice and/or treatment for the past 10 years, other than
treatment for psychiatric and/or mental health related conditions unless you are asserting claims for
said injuries under Section IV.B., above.

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Name and Specialty Address APPIOX. ves ears
of Visits

 

 

 

 

 

 

 

 

 

 

F, Other than what you are claiming as your INJURIES related to your DAVOL/BARD
Hernia Mesh Device(s), to the best of your knowledge, over the past 20 years have you been told by
a doctor or any other health care provider, that you have suffered, may have suffered, or presently do
suffer from any of the following:

1. Hernias (other than the one you repaired with Yes No Unsure _
DAVOL/BARD Hernia Mesh Device(s))

2. Recurrent Hernia(s) Yes No Unsure
Recurrent or Chronic Infections Yes No Unsure

Specify location and nature of infection:

 

4. Fistulas Yes ———‘é‘NN Unsure

5. Adhesions Yes _———‘sé‘N@T Unsure

6. Bowel Obstruction Yes _—=— (No Unsure

7. Bowel Perforation Yes _———“‘éiN Unsure

8. Peritonitis/Sepsis Yes _—séNow Unsure,

9. Malnutrition Yess No____ Unsure

i0. Anemia Yes ———sNO Unsure

11. Chronic Obstructive Pulmonary Disease Yes = No Unsure,
(COPD)

12. Emphysema Yes —=—=——s Noo Unsure _

13. Connective Tissue Disorder Yes _ No Unsure

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14. Collagen Disorder Yes ———s«SNNN __ Unsure

15. Aneurysm Yes ———s—‘é‘N Unsure

16. Muscle or Muscle-Wasting Disorder Yess No —‘<Urnssurre—— (se

Specify condition:

17. Hypertension or high blood pressure Yess No__—“—« nrg

18. Hypotension or low blood pressure Yes = No_____ Unsure

19. Obesity Yes = = =No_____—s—w Unsure

20. Heart Attack or Congestive Heart Failure Yes Nos Unsure

21. Stroke Yes _—C (Noo Unsure

22. Diabetes Yes —s No Unsure

23. Thyroid dysfunction Yess NO Unsure

24. Crohn’s disease Yes — No Unsure

25. Irritable bowel syndrome Yes __ No Unsure _

26. Diverticulitis Yes _—s (No Unsure

27, Any other disease of the gut, intestines, or Yes === No Unsure

bowel
Specify condition:
28. Neuromuscular disease or disorder Yes _———séNo Unsure
Specify condition:
29. Immune system disease or dysfunction Yes _———s No Unsure
If yes, specify:
30. Any alcohol or chemical dependency Yes = No Unsure _
addiction
If yes, specify:

31. Any history of tobacco use Yes No Unsure __
If yes, specify type (cigarettes, cigars, chewing tobacco, frequency, when started and when
quit, if applicable:

G. To the extent not previously disclosed in response to Part IV, above, list each prescription

medication you have taken regularly for the past ten 10 years. Note, “regularly” shall be
defined to mean for at least 60 days. Please include the reason you took the medication,
and the dosage other than treatment for psychiatric and/or mental health related conditions unless
you are asserting claims for said injuries under Section IV.B., above.

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Medication Dosage Reason for Medication

 

 

 

 

 

 

 

 

 

 

 

 

VIT. INSURANCE INFORMATION

A Provide the following information for any past or present medical insurance coverage
within the last 10 years:

 

Name of Insurance Policy Name of Policy Holder/Insured| Approx. Dates of
Company Number (if different than you) Coverage

 

 

 

 

 

 

 

 

 

 

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B. To the best of your knowledge, have you been approved to receive or are you receiving
Medicare benefits due to age, disability, condition or any other reason or basis?

Yes No

If Yes, please specify the following:

 

 

a) The date on which you first became eligible:

Cc. To the best of your knowledge, have you been approved to receive or are you receiving
Medicaid benefits?
Yes No

[Please note: if you are not currently a Medicare/Medicaid-eligible beneficiary, but become eligible
Jor Medicare/Medicaid during the pendency of this lawsuit, you must supplement your response at that
time. This information is necessary for all parties to comply with Medicare/Medicaid regulations. See
42 U.S.C, 1395y(b)(8), also known as Section 111 of the Medicare, Medicaid and SCHIP Extension
Act of 2007 and 42 U.S.C. 1395y(b)(2) also known as the Medicare Secondary Payer Act.]

VIL. TI FEND

A. Have you or anyone acting on your behalf that you are aware of, other than your attorney
or your healthcare professionals, ever communicated directly with Davol, Inc. or C.R.
Bard, Inc. in any way concerning the DAVOL/BARD Hernia Mesh Device(s)?

Yes No I Don’t Know

If No, skip to Part VII.B., below.
If Yes:

1. Provide the date of any communication:

 

2. Identify by name and address the person making the communication: _

 

 

3. Identify by name and address the person with whom you (or anyone else)
communicated at Davol, Inc. and/or C.R. Bard, Inc.:

 

 

 

4. Describe the method of communication (e.g., telephone, letter, e-mail, etc.):

 

 

5. Describe the substance of the communication:

 

 

 

 

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B, To your knowledge, have you or anyone acting on your behalf, that you are aware of, other
than your attorney ever received a communication directly from Davol, Inc. and/or C.R.
Bard, Inc. in any way concerning the DAVOL/BARD Hernia Mesh Device(s)?

Yes No I Don’t Know

If No or I Don’t Know, skip to Part VIII, below.
If Yes:

1. Provide the date of any communication:

 

2 Identify by name and address the person with Davol, Inc. and/or C.R. Bard, Inc.
making the communication:

 

 

 

3. Identify by name and address the person to whom the communication from Davol,
Inc. and/or C.R. Bard, Inc. was directed:

 

 

 

 

 

4, Describe the method of communication (e.g., telephone, letter, e-mail, etc.):
5. Describe the substance of the communication from Davol, Inc. and/or C.R. Bard,
Inc.:

 

 

 

 

IX. POTENTIAL WITNESSES

A. Please identify all persons who you believe possess information concerning your
injury(ies) and current medical conditions, other than your healthcare providers, and please state
their name address and his/her/their relationship to you.

Name:
Address:

 

 

 

Relationship to you:

 

Name:
Address:

 

 

 

Relationship to you:

 

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B.

Name:
Address:

 

 

 

Relationship to you:

 

Attach Additional Sheets if Necessary.

Have you received any money (or a promise of money to you in the future or a promise to
pay some third party) from a lender or other third party in exchange for an assignment of any
portion of your recovery in this lawsuit, such that the lender or assignee has decision making
authority over the terms of any resolution of your claim?

Yes No

If Yes, please state:

a. The name, address, telephone number, and email address of the lender and/or any third
party involved in the legal funding:

X, LOSS OF CONSORTIUM CLAIM

A. Has anyone filed a loss of consortium claim in connection with your lawsuit
regarding the DAVOL/BARD Hernia Mesh Device(s)? Yes__No__

If No, skip to Part XI, below.

 

 

 

If Yes:
1. Identify by name and address the person who filed the loss of consortium claim:
2, State that person’s relationship to you:

 

3. Describe/Identify the damages suffered by consortium plaintiff:

 

 

 

 

 

 

 

3. Please list the name and address of any healthcare providers the consortium plaintiff

has seen for treatment for any injuries or alleged to be related to the loss of consortium claim.

 

 

 

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XI A RIZA R RE R I

A. AUTHORIZATIONS.

NOTE: Please sign and attach to this Fact Sheet the necessary authorization(s) for the release
of the following records as applicable:

1. Authorization for the release of medical records: please sign and fill out
this authorization for all healthcare providers identified in Sections IV.A.4, IV.A.5, VLC,
VLE.

2. Authorization for the release of psychiatric/Mental Healthcare records:
please sign and fill out this authorization on/y if you are claiming psychiatric and/or mental
health injuries as set forth in Section IV.B, and if so, please fill out and execute this
authorization on behalf of all mental healthcare providers identified in Section IV.A.B.4.

3. Authorization for the release of Workers Compensation records: please
sign and fill out this authorization only if you have identified a Workers’ Compensation claim
in the prior 10 years pursuant to Section V.B.

4. Authorization for the release of Social Security Disability records: please
sign and fill out this authorization only if you have received Social Security Disability benefits
in past 10 years, as set forth in Section V.B.

5. Authorization for the release of Insurance records: please sign and fill out
this authorization all insurance providers identified in Section VII.A.

6. Authorization for the release of Medicare records: please sign and fill out
this authorization only if you have received Medicare in past 10 years, as set forth in Section

VIL.B.

7. Authorization for the release of Medicaid records: please sign and fill out
this authorization only if you received Medicaid benefits in the past 10 years as set forth in
Section VII.C.

8. Authorization for the release of employment records: please sign and fill
out this authorization only if you are seeking lost wages or lost earnings capacity as set forth in
Section IV.C., and if so, please fill out and execute this authorization on behalf of all
employers identified in Section IT.J.

B. DOCUMENTS. State whether you have any of the following documents in your
possession, custody, and/or control. If you do, please provide a true and correct copy of
any such documents with this completed Fact Sheet.

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1. If you were appointed by a court to represent the plaintiff in this lawsuit, produce
any documents demonstrating your appointment as such.

i. Not Applicable
ii. The documents are attached [OR] I have no documents

2. If you represent the estate of a deceased person in this lawsuit, produce a copy of
the decedent’s death certificate.

1. Not Applicable

it. The documents are attached [OR] [have no documents __

3. Produce all documents in your possession, custody or control conceming any
occasion on which you saw a doctor or other health care provider regarding any injury or physical
or psychological complaint for which you claim compensation in this lawsuit, including but not
limited to all medical reports and records; and laboratory findings and reports. If you answered
Yes, in Section IVB, above, please also include psychological/psychiatric assessments and/or any
psychiatric or mental health records in your possession, custody or control.

i. The documents are attached [OR] I have no documents

4, Produce all medical and hospital bills or receipts, and documents in your
possession, custody or control reflecting any and all payments made for same, including, but not
limited to, any hospital and health care professional bills incurred because of the injuries you allege
you have incurred as a result of your use of the DAVOL/BARD Hernia Mesh Device(s).

i. The documents are attached [OR] I have no documents

5. Produce any communications in your possession, custody or control, excluding
communications with your lawyers, concerning the DAVOL/BARD Hernia Mesh Device(s),
including but not limited to e-mails, blogs, newsletters, etc.

i. The documents are attached [OR] Ihave no documents

6. Produce any notes, diaries, or other documents evidencing your physical condition
from the earlier of the date of implant of your first Davol/Bard Hernia Mesh Device(s) or 10 years
ago, including but not limited to the injuries for which you seek relief in this lawsuit.

i. The documents are attached [OR] I have no documents

7. Produce any DAVOL/BARD Hernia Mesh packaging, labeling, advertising, or any
other DAVOL/BARD Hernia Mesh-related items in your possession, custody or control.

i. The documents are attached [OR] I have no documents

8. Produce all documents in your possession, custody or control evidencing or relating
to any correspondence or communication between Davol, Inc. or C.R. Bard, Inc. and any of your
doctors, healthcare providers, and/or you relating to the DAVOL/BARD Hernia Mesh.

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i. The documents are attached [OR] I have no documents

9, Produce any and all documents in your possession, custody or control relating to
the recall of the DAVOL/BARD Hernia Mesh that you received and/or reviewed at any time prior
to filing this lawsuit.

i. The documents are attached [OR] T have no documents

10, Produce any and all documents in your possession, custody or control reflecting,
describing, or in any way relating to any instructions or warnings you received prior to
implantation of the DAVOL/BARD Hernia Mesh concerning the risks and/or benefits of your
hernia repair surgery, including but not limited to any risks and/or benefits associated with the
DAVOL/BARD Hernia.

i. The documents are attached [OR] I have no documents

11. Produce any and all documents reflecting the size, model number, and lot number
of the DAVOL/BARD Hernia Mesh you received.

i. The documents are attached [OR] I have no documents _

12. ‘If you underwent surgery to remove in whole or in part the DAVOL/BARD Hemia
Mesh Device(s) that you received, produce any and all documents in your possession, custody or
control relating to any evaluation of the DAVOL/BARD Hernia Mesh and any other material that

was (were) surgically removed from you.

i. The documents are attached [OR] I have no documents

13. Produce all documents in your possession, custody or control relating to any
responses to the workers compensation questions above.

i. The documents are attached. [OR] I have no documents

14. Produce all documents in your possession, custody or control relating to any
responses to the bankruptcy questions above.

i. The documents are attached [OR] I have no documents

ii. If you claim lost wages or lost earning capacity, copies of your W-2 and any
other evidence you will use to support your claim for lost wages or lost
earning capacity for the two years prior to this lawsuit. The documents are
attached. [OR] I have no documents

15. All documents in your possession, custody or control concerning payment by
Medicare on the injured party's behalf relating to the injuries claimed in this lawsuit, including but

not limited to Interim Conditional Payment summaries and/or estimates prepared by Medicare or its
representatives regarding payments made on your behalf for medical expenses relating to the subject
of this litigation.

i, The documents are attached [OR] Thavenodocuments |

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16. IDENTIFICATION OF DOCUMENTS AND OTHER ELECTRONICALLY

STORED INFORMATION: For the period beginning three years prior to
implantation of the DAVOL/BARD Hemia Mesh Device(s) to present, please describe any research,
including on-line research, you have conducted regarding the device(s) and injuries that are the subject
of your lawsuit, including the implantation of the hernia mesh device(s), the injuries and/or damages
you claim resulted from the implantation of the DAVOL/BARD Hernia Mesh Device(s), or your
medical or physical condition related to injuries you claim resulted from the implantation of the
DAVOL/BARD Hernia Mesh Device(s). To the best of Plaintiff's ability, he or she should identify the
date such research was conducted and the name of any websites visited. Research conducted to identify
or evaluate potential counsel or legal representation or to understand the legal and strategic advice of
your counsel is not considered responsive to this request.

 

 

 

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SWORN DECLARATION
Plaintiff, , deposes and states as follows:
I declare under penalty of perjury that all of the information provided in this Fact Sheet is
true and correct to the best of my knowledge, information and belief: I have supplied all the
documents requested in Part XI of this Fact Sheet to the extent that such documents are in my

possession, custody, or control; and I have supplied the records authorizations requested in and

attached to this Fact Sheet.

Dated:

 

 

Signature of Plaintiff

DE I
(FOR CONSORTIUM PLAINTIFF)

To the extent a loss of consortium claim is being asserted, and Section X, above has been completed,
the following Declaration is being made by the Consortium Plaintiff and this Declaration applies to

Section X, of this Fact Sheet only.

Plaintiff, , deposes and states as follows:
I declare under penalty of perjury that all of the information provided in this Fact Sheet

regarding my loss of consortium claim is true and correct to the best of my knowledge, information

and belief.

 

Dated:

 

Signature of Consortium Plaintiff

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(Pursuant to the Health Insurance Portability and Accountability Act “HIPAA” of 4/14/03)

 

 

TO:
Patient Name: SSN: DOB:
I, , hereby authorize you to release and furnish to:

 

Reed Smith LLP and/or Litigation Management, Inc., 6000 Parkland Boulevard, Mayfield Heights OH 44124, copies
of the following information:

¢ All records, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports,
documents, correspondence, x-rays, test results, statements, questionnaires/histories, office and doctor's
handwritten notes, and records created or received by you or other physicians or staff, as well as all autopsy,
laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and cardiac
catheterization reports.

* All radiclogy films, mammograms, myelograms, CT scans, photographs, bone scans,
pathology/cytology/histology/autopsy/immunchistochemistry specimens, cardiac catheterization
videos/CDs/films/reels, and echocardiogram videos.

¢ All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.

® All billing records including all statements, itemized bills, and insurance records.

**Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize the

disclosure of notes or records pertaining to psychiatric, psychological, or mental health treatment or

diagnosis as such terms are defined by HIPAA, 45 CFR §164.501.

1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the
defendants. This document does not authorize you to discuss with any individual any aspect of the above-
named person's medical history, care, treatment, diagnosis, prognosis, information revealed by or in the
medical records, or any other matter bearing on his or her medical or physical condition. This document
does not limit your ability to testify at deposition or trial about any aspect of the above-named person's
medical history, care, treatment, diagnosis, prognosis, information revealed by or in the medical records, or
any other matter bearing on his or her medical or physical condition.

2. I understand that the information in my health record may include information relating to sexually transmitted
disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV).

3. Lunderstand that I have the right to revoke this authorization at any time. I understand that if I revoke this
authorization I must do so in writing and present my written revocation to the health information management
department. I understand the revocation will not apply to information that has already been released in response to
this authorization. I understand the revocation will not apply to my insurance company when the law provides my
insurer with the right to contest a claim under my policy. Unless otherwise revoked, this authorization will expire

two years from the date of execution.

4. [understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this
authorization. I need not sign this form in order to assure treatment. I understand I may inspect or copy the
information to be used or disclosed as provided in CFR 164.524. I understand that any disclosure of information
carries with it the potential for an unauthorized re-disclosure and the information may not be protected by federal
confidentiality rules. If I have questions about disclosure of my health information, I can contact the releaser

indicate above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an
original.

Print Name: (plaintiff/representative)

 

Signature: Date:
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(Pursuant to the Health Insurance Portability and Accountability Act “HIPAA” of 4/14/03)

 

 

 

TO:
Patient Name: SSN: DOB:
] _, hereby authorize you to release and furnish to:

 

Reed Smith LLP and/or Litigation Management, Inc., 6000 Parkland Boulevard, Mayfield Heights OH 44124, copies
of the following information:

e All records, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports,
documents, correspondence, x-rays, test results, statements, questionnaires/histories, office and doctor's
handwritten notes, and records created or received by you or other physicians or staff, as well as all autopsy,
laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and cardiac
catheterization reports.

« Allradiology films, mammograms, myelograms, CT scans, photographs, bone scans,
pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization
videos/CDs/films/reels, and echocardiogram videos.

¢ All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.

e All billing records including all statements, itemized bills, and insurance records.

**Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize the

disclosure of notes or records pertaining to psychiatric, psychological, or mental health treatment or

diagnosis as such terms are defined by HIPAA, 45 CFR §164.501.

1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the
defendants. This document does not authorize you to discuss with any individual any aspect of the above-
named person's medical history, care, treatment, diagnosis, prognosis, information revealed by or in the
medical records, or any other matter bearing on his or her medical or physical condition. This document
does not limit your ability to testify at deposition or trial about any aspect of the above-named person's
medical history, care, treatment, diagnosis, prognosis, information revealed by or in the medical records, or
any other matter bearing on his or her medical or physical condition.

2. I understand that the information in my health record may include information relating to sexually transmitted
disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV).

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this
authorization I must do so in writing and present my written revocation to the health information management
department. I understand the revocation will not apply to information that has already been released in response to
this authorization. I understand the revocation will not apply to my insurance company when the law provides my
insurer with the right to contest a claim under my policy. Unless otherwise revoked, this authorization will expire

two years from the date of execution.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this
authorization. I need not sign this form in order to assure treatment. I understand I may inspect or copy the
information to be used or disclosed as provided in CFR 164.524. I understand that any disclosure of information
catries with it the potential for an unauthorized re-disclosure and the information may not be protected by federal
confidentiality rules. If I have questions about disclosure of my health information, I can contact the releaser

indicate above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an
original.

Print Name: (plaintiff/representative)

 

Signature: Date:
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AUTHORIZATION TO DISCLOSE MEDICAID INFORMATION

To:

For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to Litigation Management Inc., 6000 Parkland Blvd.,
Mayfield Hts.. OH, any and all records containing Medicaid information, including those
that may contain protected health information (PHI) regarding
«Namel», whether created before or after the date of
signature. Records requested may include, but are not limited to:

all Medicaid records, including explanations of Medicaid benefit records and
claims records; any statements, communications, pro reviews, denials, appeals,
correspondence, reports, questionnaires or records submitted in connection with
claims; all reports from physicians, hospital, dental providers, _ prescriptions;
correspondence, test results and any other medical records; records of claims paid
to or on the behalf’ of «Namel»; records of
litigation and any other records of any kind. I expressly request that all covered
entities under HIPAA identified above disclose full and complete protected medical
information spanning the time period of (the earlier of ten years before the date of signature or
5 years before the date of any removal) to present.

Because this litigation is ongoing, it is essential that you preserve the original Medicaid records.
Please take all steps that are necessary to preserve the Medicaid records that remain in your possession.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In re: Davol,
Inc/C.R. Bard, Inc. Polypropylene Hernia Mesh Products Liability Litigation, MDL 2:18-
md-02846; U.S. District Court for the Southern District of Ohio, including any and all transfers
and the exhaustion of all appeals. In addition, a copy of this authorization may be used in place of
and with the same force and effect as the original.

NOTICE

* The individual signing this authorization has the right to revoke this authorization at any
time, but shall provide a copy of the revocation to Reed Smith LLP and/or Litigation
Management Inc., except to the extent that the entity has already relied upon this
Authorization to disclose protected health information (PHI).

¢ The individual signing this authorization understands that the covered entity to whom this
authorization is directed may not condition treatment, payment, enrollment or eligibility
benefits on whether or not the individual signs the authorization.

* The individual signing this authorization understands that protected health information
(PHI) disclosed pursuant to this authorization may be subject to redisclesure by the
recipients on the terms and conditions set forth in the case management order(s) governing
the subject lawsuit, and that, in such case, the disclosed PHI will no longer be protected by
45 CFR Section 164, Subpart E.
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I have read the foregoing Authorization and understand that it will permit the entity identified above
to disclose PHI to Litigation Management Inc.

 

 

 

 

 

Signature Name
Former/Alias/Maiden Name
Date
Date of Birth
Social Security Number

 

Address
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 39 of 56 PAGEID #: 1650

Social Security Administration Form Approved
Consent for Release of Information OMB No. 0960-0566

Instructi for Using this Form

Complete this form only if you want us to give information or records about you, a minor, or a legally incompetent adult, to an
individual or group (for example, a doctor or an insurance company). If you are the natural or adoptive parent or legal guardian,
acting on behalf of a minor child, you may complete this form to release only the minor's non-medical records. We may charge a
fea for providing information unrelated to the administration of a program under the Social Security Act.

NOTE: Do not use this form to:

* Request the release of medical records on behalf of a minor child. Instead, visit your local Social Security office or call our toll-
free number, 1-800-772-1213 (TTY-1-800-325-0778), or

* Request detailed information about your eamings or employment history. Instead, complete and mail form SSA-7050-F4, You
can obiain form SSA-7050-F4 from your local Sccial Security office or online at www.ssa.gov/online/ssa-7050. pdf.

How to Complete this Form

We will not honor this form unless all required fields are completed. An asterisk (*) indicates a required field. Also, we will not
honor blanket requests for “any and all records" or the "entire file." You must specify the information you are requesting and you
must sign and date this form. We may charge a fee to release information for non-program purposes.

* Fill in your name, date of birth, and social security number or the name, date of birth, and social security number of the person
to whom the requested information pertains.

* Fill In the name and address of the person or organization where you want us to send the requested information.

* Specify the reason you want us to release the information.
+ Check the box next to the type(s) of information you want us to release Including the date ranges, where applicable.

* For non-medical information, you, the parent or the legal guardian acting on behalf of a minor chitd or legally incompetent adult,
must sign and date this form and provide a daytime phone number.

* If you are not the individual to whom the requested information pertains, state your relationship to that person. We may require
proof of relationship.

PRIVACY ACT STATEMENT

Section 205(a) of the Social Security Act, as amended, authorizes us to collect the Information requested on this form. We will
use the Information you provide to respond to your request for access to the records we maintain about you or to process your
request to release your records to a third party. You do not have to provide the requested information. Your response Is
voluntary; however, we cannot honor your request to release information or records about you to another person or organization
without your consent. We rarely use the information provided on this form for any purpose other than to respond to requests for
SSA records information. However, the Privacy Act (5 U.S.C. § 552a(b)) permits us to disclose the information you provide on this
form in accordance with approved routine uses, which Inciude but are not fimited to the following:

1.To enable an agency or third party to assist Social Security in establishing rights to Social Security benefits and or coverage;
2.To make determinations for eligibility in similar health and income maintenance programs at the Federal, State, and local level:
3.To comply with Federal laws requiring the disclosure of the information from our records; and,

4.To facilitate statistical research, audit, or investigative activities necessary to assure the integrity of SSA programs.

We may also use the information you provide when we match records by computer. Computer matching programs compare our
records with those of other Federal, State, or local government agencies. We use information from these matchin programs to
establish or verify a person's eligibility for Federally-funded or administered benefit programs and for repayment of incorrect
payments or overpayments under these programs. Additional Information regarding this form, routine uses of information, and
other Social Security programs is available on our Internet website, www.socialsecurity.gov, or at your local Social Security office.

PAPERWORK REDUCTION ACT STATEMENT

This information collection meets the requirements of 44 U.S.C. § 3507, as amended by section 2 of the Paperwork Reduction
Act of 1995, You de not need to answer these questions unless we display a valid Office of Management and Budget control
number. We estimate that it will take about 3 minutes to read the instructions, gather the facts, and answer the questions. SEND
OR BRING THE COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You can find your local Social
Security office through SSA’s website at www.sccialsecurity.gov. Offices are also listed under U.S. Government agencies
in your telephone directory or you may call 1-800-772-1213 (TYY 1-800-325-0778). You may send comments on our time
estimate above to: SSA, 6401 Security Bivd., Baltimore, MD 21235-6401. Send only comments relating to our time estimate

fo this address, not the completed form.

 

Form SSA-3288 (11-2016) uf
Destroy Prior Editions
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 40 of 56 PAGEID #: 1651

Social Security Administration Form Approved
Consent for Release of Information OMB No. 0960-0566

You must complete all required fields. We will not honor your request unless all required fields are completed. (*Signifies a
required field. “Please complete these fields in case we need to contact you about the consent form).

TO: Social Security Administration

 

*My Full Name *My Date of Birth *My Soclal Security Number
(MMIDDIYYYY)
| authorize the Sccial Security Administration to release information or records about me to:
“NAME OF PERSON OR ORGANIZATION: *ADDRESS OF PERSON OR ORGANIZATION:
LITIGATION MANAGEMENT, INC. 6000 PARKLAND BOULEVARD

 

MAYFIELD HEIGHTS, OH 44124

 

 

“I want this information released because: to be used in support of an active litigation.
We may charge a fee to release information for non-program purposes.

Invoices can be sent via fax to: 440-484-2055, please reference the PacketI number found above SocialSecurity Disability on the request letter.

Piease feel free to contact Litigation Management, Inc. directly at (B88) 803 - 8706 with any questions.

*Please release the following information selected from the list below:
Check at least one box. We will not disclose records unless you include date ranges where applicable.

. L] Verification of Social Security Number

. _] Current monthly Social Security benefit amount

. LJ Current monthly Supplemental Security Income payment amount

. [x] My benefit or payment amounts from date te date PRESENT.

. [x] My Medicare entitlement from date ss to date PRESENT.

. [_] Medical records from my claims folder(s) from date to date
If you want us fo release a minor child's medical records, do not use this form. Instead, contact your loca! Social
Security office.

. [X] Complete medical records from my claims folder(s)

. [X] Other record(s) from my file (We will not honor a request for "any and ail records" or "the entire file." You must specify
other records; e.g., consultative exams, award/denial notices, benefit applications, appeals, questionnaires,
doctor reports, determinations.)
Documents or other items relating to my soclal security claims(s): applications, petitions, payment documents/decislons/awards/denlals, jurisdictional documents/notes,

transcripts, correspondence, notice of hearings, hearing records, orders, depositions, reports; witnesses, medical raviewers and experts consultative examination reports,
Medical records and determination records.

NS —

aon & w

ow

| am the Individual, to whom the requested information or record applies, or the parent or legal guardian of a minor, or the
legal guardian of a legally Incompetent adult. | declare under penalty of perjury (28 CFR § 16.41 (d)(2004) that I have examined
all the information on this form and it is true and correct to the best of my knowledge. ! understand that anyone who knowingly
or willfully seeking or obtaining access to records about another person under false pretenses is punishable by a fine of up to
$5,000. | also understand that ! must pay all applicable fees for requesting information for a non-program-related purpose.

 

 

 

*Signature: *Date:
“Address: “Daytime Phone:
Relationship (if not the subject of the record): “Daytime Phone:

 

Witnesses must sign this form ONLY if the above signature is by mark (X). If signed by mark (X), two witnesses to the signing
who know the signee must sign below and provide their full addresses. Please print the signee's name next to the mark {X) on the

signature fine above.

1.Signature of witness 2.Signature of witness

 

Address(Number and street,City,State, and Zip Code) Address(Number and street,City,State, and Zip Code)

 

 

Form SSA-3288 (11-2016) uf
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 41 of 56 PAGEID #: 1652

AUTHORIZATION TO DISCLOSE INSURANCE INFORMATION

To:

For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to Litigation Management Inc., 6000 Parkland Blvd.,
Mayfield Hts., OH, any and all records containing insurance information, including those that
may contain protected health information (PHI) regarding
«Name1», whether created before or after the date of signature. Records requested may include, but are

not limited to:

 

applications for insurance coverage and renewals; all insurance policies, certificates and
benefit schedules regarding the insured's coverage, including supplemental coverage;
health and physical examination records that were reviewed for underwriting purposes,
and any statements, communications, correspondence, reports, questionnaires, and
records submitted in connection with applications or renewals for insurance coverage, or
claims; all physicians’, hospital, dental reports, prescriptions, correspondence, test results,
radiology reports and any other medical records that were submitted for claims review
purposes; any claim record filed; records of any claim paid; records of all litigation; and
any other records of any kind concerning or pertaining to the insured. I expressly request
that all covered entities under HIPAA identified above disclose full and complete
protected medical information spanning the time period of the past 10 years.

Because this litigation is ongoing, it is essential that you preserve the original insurance records. Please
take all steps that are necessary to preserve the insurance records that remain in your possession.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In re:
Davol, Inc/C.R. Bard, Inc. Polypropylene Hernia Mesh Products Liability Litigation, MDL 2:18-
md-02846; U.S. District Court for the Southern District of Ohio, including any and all
transfers and the exhaustion of all appeals. In addition, a copy of this authorization may be used in
place of and with the same force and effect as the original.

NOTICE

* The individual signing this authorization has the right to revoke this authorization at any
time, but shall provide a copy of the revocation to Reed Smith LLP and/or Litigation
Management Inc., except to the extent that the entity has already relied upon this
Authorization to disclose protected health information (PHD.

© The individual signing this authorization understands that the covered entity to whom this
authorization is directed may not condition treatment, payment, enrollment or eligibility
benefits on whether or not the individual signs the authorization.

* The individual signing this authorization understands that protected health information
(PHI) disclosed pursuant to this authorization may be subject to redisclosure by the
recipients on the terms and conditions set forth in the case management order(s) governing
the subject lawsuit, and that, in such case, the disclosed PHI will no longer be protected by

45 CFR Section 164, Subpart E.
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 42 of 56 PAGEID #: 1653

I have read the foregoing Authorization and understand that it will permit the entity identified above
to disclose PHI to Litigation Management Inc.

 

 

 

 

 

Signature Name
Former/Alias/Maiden Name
Date
Date of Birth
Social Security Number

 

Address
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 43 of 56 PAGEID #: 1654

(CMS Medicare

CENTERS FOR MEDICARE & MEDICAID SERVICES Beneficiary Services :1-800-MEDICARE(1-800-633-4227)
TTY/ TDD:1-877-486-2048

 

This form is used to advise Medicare of the person or persons you have chosen to have access to your
personal health information.

Where to Return Your Completed Authorization Forms:
After you complete and sign the authorization form, return it to the address below:

Medicare CCO, Written Authorization Dept.

PO Box 1270
Lawrence, KS 66044

For New York Medicare Beneficiaries ONLY

The New York State Public Health Law protects information that reasonably could identify someone as
having HIV symptoms or infection, and information regarding a person's contacts. Because of New
York's laws protecting the privacy of information related to alcohol and drug abuse, mental health
treatment, and HIV, there are special instructions for how you, as a New York resident, should complete

this form.

e For question 2A, check the box for Limited Information, evenif you want to authorize
Medicare to release any and all of your personal health information.

e Then proceed to question 2B. You may also check any of the remaining boxes and include any
additional imitations in the space provided. For example, you could write "payment information".

Instructions for Completing Section 2C of the Authorization Form:
Please select one of the following options.

e Option 1 To include all nformation, check the box: "All information, including information about
alcohol and drug abuse, mental health treatment, and HIV”. Proceed with the rest of the form.

e Option 2 To exclude the information listed above, check the box "Exchide information about
alcohol and drug abuse, mental health treatment, and HIV". Then proceed with the rest of the form.
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 44 of 56 PAGEID #: 1655

If you have any questions or need additional assistance, please feel free to call us at 1-800-
MEDICARE (1-800-633-4227). TTY users should call 1-877-486-2048.

Sincerely,

1-800-MEDICARE
Customer Service Representative

Encl.
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 45 of 56 PAGEID #: 1656

Deparment of Health and Human Services Form Approved

Centers for Medicare & Medicaid Services OMB No. 0938-0930
Expiration Date: 6/30/2021

Information to Help You Fill Out the
“1-800-MEDICARE Authorization to Disclose Personal Health Information” Form

By law, Medicare must have your written permission (an “authorization”) to use or give out your
personal medical information for any purpose that isn't set out in the privacy notice contained in the
Medicare & You handbook. You may take back (“revoke”) your written permission at any time, except
if Medicare has already acted based on your permission.

If you want 1-800- MEDICARE to give your personal health information to someone other than you,
you need to let Medicare know in writing,

If you are requesting personal health information for a deceased beneficiary, please include a copy of
the legal documentation which indicates your authority to make a request for information. (For
example: Executor/Executrix papers, next ofkin attested by court documents with a court stamp and a
judge's signature, a Letter of Testamentary or Administration with a court stamp and judge's signature,
or personal representative papers with a court stamp and judge's signature.) Also, please explain your
relationship to the beneficiary.

Please use this step by step instruction sheet when completing your “1-800-MEDICARE Authorization
to Disclose Personal Health Information” Form. Be sure to complete all sections of the form to ensure
timely processing.

1. Print the name ofthe person with Medicare.

Print the Medicare number exactly as it is shown on the red, white, and blue Medicare card.
Print the birthday in month, day, and year (mm/dd/yyyy) of the person with Medicare.

2. This section tells Medicare what personal health information to give out. Please check a box in
2A to indicate how much information Medicare can disclose. If you only want Medicare to
give out limited information (for example, Medicare eligibility), also check the box(es) in 2B
that apply to the type of information you want Medicare to give out. Box 2C must be completed
by New York Residents,

3. This section tells Medicare when to start and/or when to stop giving out your personal health
information. Check the box that applies and fill in dates, if necessary.

4, This section tells Medicare the reason for disclosure.

5. Medicare will give your personal health information to the person(s) or organization(s) you fill in
here. You may fill in more than one person or organization.

If you designate an organization, you must also identify one or more individuals in that

Form CMS-10106 (Rev 06/18)
Instructions
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 46 of 56 PAGEID #: 1657

Form Approved
OMB No, 0938-0930
Expiration Date: 6/30/2021

Department of Health and Human Services
Centers for Medicare & Medicaid Services

organization to whom Medicare may disclose your personal health information.

6. The person with Medicare or personal representative must sign their name, fill in the date, and
provide the phone number and address of the person with Medicare.

If you are a personal representative of the person with Medicare, check the box, provide your
address and phone number, and attach a copy of the paperwork that shows you can act for that
person (for example, Power of Attorney).

7. Send your completed, signed authorization to Medicare at the address shown here on your
authorization form.

8. If you change your mind and don't want Medicare to give out your personal health information,
write to the address shown under number seven on the authorization form and tell Medicare.
Your letter will revoke your authorization and Medicare will no longer give out your personal
health information (except for the personal health information Medicare has already given out
based on your permission).

You should make a copy of your signed authorization for your records before mailing it to Medicare.

Form CMS-10106 {Rev 06/18)
Instructions
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 47 of 56 PAGEID #: 1658

Department of Health and Human Services Form Approved

Centers for Medicare & Medicaid Services OMB No. 0938-0930
Expiration Date: 6/30/2021

1-800-MEDICARE Authorization to Disclose Personal Health Information

Use this form if you want 1-800-MEDICARE to give your personal health information to someone
other than you.

 

 

1. Print Name Medicare Number Date of Birth
(First and last name of the person with Medicare) (Exactly as shown on the Medicare Card) (mm/dd/yyyy)

2. Medicare will only disclose the personal health information you want disclosed.

2A: Check only one box below to tell Medicare the specific personal health information you
want disclosed:

{| Limited Information (go to question 2b)

[ | Any Information (go to question 3)

2B: Complete only_if you selected “limited information”. Check all that apply:
|] Information about your Medicare eligibility
{| Information about your Medicare claims
[_] Information about plan enrollment (e.g. drug or MA Plan)
[ ] Information about premium payments

{ | Other Specific Information (please write below; for example, payment information)

2C: NY Residents Only, this section must be completed.
Please select one of the following options: (Please check only one box.)

[| Include all information. This includes information about alcohol and drug abuse, mental
health treatment, and HIV.

OR

Form CMS-10106 (Rev 06/18)
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 48 of 56 PAGEID #: 1659

Department of Health and Human Services Form Approv ed

Centers for Medicare & Medicaid Services OMB No, 0938-0930
Expiration Date: 6/30/2021

[_] Exchde information about alcohol and drug abuse, mental health treatment, and HIV.

3. Check only one box below indicating how long Medicare can use this authorization to disclose
your personal health information (subject to applicable law—for example, your State may limit
how long Medicare may give out your personal health information):

[ _] Disclose my personal health information indefinitely

Disclose my personal health information for a specified period only
beginning: (mm/dd/yyyy) and ending: (mm/dd/yyyy)

4, Fill in the reason for the disclosure (you may write "at my request"):

to be used in support of active litigation.

5. Fill in the name and address of the person or organization to whom you want Medicare to
disclose your personal health information. Please provide the specific name of the person for
any organization you list below. If you would like to authorize any additional individuals or

organizations, please add those to the back of this form.
Name Litigation Management Inc.

Address 8000 Parkland Blvd., Mayfield Heights., OH 44124

Name

 

Address

 

Form CMS-10106 (Rev 06/18)
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 49 of 56 PAGEID #: 1660

Department of Health and Human Services Form Approved

Centers for Medicare & Medicaid Services OMB No. 0938-0930
Expiration Date: 6/30/2021

Note: You have the right to take back (“revoke”) your authorization at any time, in writing, except
to the extent that Medicare has already acted based on your permission, To revoke authorization,
send a wriften request to the address noted below. Your authorization or refusal to authorize disclosure
of your personal health mformation will have no effect on your enrollment, eligibility for benefits, or the
amount Medicare pays for the health services you receive.

 

6. T authorize 1-800-MEDICARE to disclose my personal health information listed above to

the person(s) or organization(s) I have named on this form. I understand that my
personal health information may be re-disclosed by the person(s) or organization(s) and
may no longer be protected by law.

 

Signature Telephone Number Date (mm/dd/yyyy)

Print the address of the person with Medicare (Street Address, City, State, and ZIP)

[| Check here if you are signing as a personal representative and complete below.
Please attach the appropriate documentation (for example, Power of Attorney). This only
apples if someone other than the person with Medicare signed above.

Print the Personal Representative's Address (Street Address, City, State, and ZIP)

Telephone Number of Personal Representative:

 

Personal Representative's Relationship to the Beneficiary:

 

 

 

 

Form CMS-10106 (Rev 06/18)
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 50 of 56 PAGEID #: 1661

Department of Health and Human Services Form Approved

Centers for Medicare & Medicaid Services OMB No. 0938-0930
Expiration Date; 6/30/2021

7. Send the completed, signed authorization to:

Medicare CCO, Written Authorization Dept.
PO Box 1270
Lawrence, KS 66044

Print Form

Note: You have the right to take back (“revoke”) your authorization at any time, in writing, except to the
extent that Medicare has already acted based on your permission. If you would like to revoke
authorization, send a written request to the address noted above.

Your authorization or refiisal to authorize disclosure of your personal health information will have no
effect on your enrollment, eligibility for benefits, or the amount Medicare pays for the health services
you receive.

According to the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of
information unless it displays a valid OMB control number. The valid OMB control number for this
mformation collection is 0938-0930. The time required to complete this information collection is
estimated to average 15 minutes per response, including the time to review instructions, search existing
data resources, gather the data needed, and complete and review the information collection. If you have
comments concerning the accuracy of the time estimate(s) or suggestions for improving this form, please
write to: CMS, 7500 Security Boulevard, Attn: PRA Reports Clearance Officer, Mail Stop C4-26-05,
Baltimore, Maryland 21244-1850.

Form CMS-10106 (Rev 06/18)
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 51 of 56 PAGEID #: 1662

AUTHORIZATION TO DISCLOSE WORKERS' COMPENSATION INFORMATION

To:

For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to Litigation Management Inc., 6000 Parkland Bivd., Mayfield
Hts., OH, any and all records containing Workers’ Compensation information, including those that may
contain protected health information (PHI) regarding «Namel», whether
created before or after the date of signature. Records requested may include, but are not limited to:

all workers' compensation claims, including claim petitions, judgments, findings, notices
of hearings, hearing records, transcripts, decisions and orders; all depositions and reports
of witnesses and expert witnesses; employer's accident reports; all other accident, injury,
or incident reports; all medical records; records of compensation payment
made; investigatory reports and records; applications for employment; records of all
positions held; job descriptions of any positions held; salary records; performance
evaluations and reports; statements and comments of fellow employees;
attendance records; all physicians’, hospital, medical, health reports; physical
examinations; records relating to health or disability insurance claims, including
correspondence, reports, claim forms, questionnaires, records of payments made to
physicians, hospitals, and health institutions or professionals; statements of account,
itemized bills or invoices; and any other records relating to the above-named individual.
Copies, NOT originals, of ail x-rays, CT scans, MRI films, photographs, and any
other radiological, nuclear medicine, or radiation therapy films and of any
corresponding reports. I expressly request that all covered entities under HIPAA
identified above disclose full and complete protected medical information spanning
the time period of the past 10 years.

Because this litigation is ongoing, it is essential that you preserve the original workers’ compensation
records. Please take all steps that are necessary to preserve the workers’ compensation records that remain
in your possession.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In re: Davol,
Inc/C.R. Bard, Inc. Polypropylene Hernia Mesh Products Liability Litigation, MDL 2:18-
md-02846; U.S. District Court for the Southern District of Ohio, including any and all transfers
and the exhaustion of all appeals. In addition, a copy of this authorization may be used in place of
and with the same force and effect as the original.

NOTICE

e The individual signing this authorization has the right to revoke this authorization at any
time, but shall provide a copy of the revocation to Reed Smith LLP and/or Litigation
Management Inc., except to the extent that the entity has already relied upon this
Authorization to disclose protected health information (PHI).

* The individual signing this authorization understands that the covered entity to whom this
authorization is directed may not condition treatment, payment, enrollment or eligibility
benefits on whether or not the individual signs the authorization.

e The individual signing this authorization understands that protected health information
(PHI) disclosed pursuant to this authorization may be subject to redisclosure by the
recipients on the terms and conditions set forth in the case management order(s) governing
the subject lawsuit, and that, in such case, the disclosed PHI will no longer be protected by
45 CFR Section 164, Subpart E.
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 52 of 56 PAGEID #: 1663

I have read the foregoing Authorization and understand that it will permit the entity identified above
to disclose PHI to Litigation Management Inc.

 

 

 

Signature Name
Former/Alias/Maiden Name
Date
Date of Birth

 

 

Social Security Number

 

Address
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 53 of 56 PAGEID #: 1664

AUTHORIZATION TO DISCLOSE EMPLOYMENT INFORMATION

To:

For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to Litigation Management Inc., 6000 Parkland Blvd., Mayfield
Hts., OH, any and all records containing employment information, including those that may contain

 

protected health information (PHI) regarding «Namel»,
whether created before or after the date of signature. Records requested may include, but are not limited
to:

all applications for employment, resumes, records of all positions held, job descriptions of
positions held, payroll records, W-2 forms and W-4 forms, performance evaluations and
reports, statements and reports of fellow employees, attendance records, worker's
compensation files; all hospital, physician, clinic, infirmary, nurse, dental records; test results,
physical examination records and other medical records; any records pertaining to medical or
disability claims, or work-related accidents including correspondence, accident reports,
injuty reports and incident reports; insurance claim forms, and records of
payments made; pension records, disability benefit records, and all records regarding
participation in company-sponsored health and disability insurance plans. Copies,
NOT originals, of all x-rays, CT scans, MRI films, photographs, and any other
radiological, nuclear medicine, or radiation therapy films and of any corresponding
reports. I expressly request that all covered entities under HIPAA identified
above disclose full and complete protected medical information spanning the time
period of (the earlier of ten years before the date of signature or 5 years before the date of any

removal) to present.

Because this litigation is ongoing, it is essential that you preserve the original employment records.
Please take all steps that are necessary to preserve the employment records that remain in your

possession.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In re: Davol,
Inc/C.R. Bard, Inc. Polypropylene Hernia Mesh Products Liability Litigation, MDL 2:18-md-02846;
U.S. District Court for the Southern District of Ohio, including any and all transfers and the
exhaustion of all appeals. In addition, a copy of this authorization may be used in place of and with

the same force and effect as the original.
NOTICE

e The individual signing this authorization has the right to revoke this authorization at any
time, but shall provide a copy of the revocation to Reed Smith LLP and/or Litigation
Management Inc., except to the extent that the entity has already relied upon this
Authorization to disclose protected health information (PHI).

© The individual signing this authorization understands that the covered entity to whom this
authorization is directed may not condition treatment, payment, enrollment or eligibility
benefits on whether or not the individual signs the authorization.

* The individual signing this authorization understands that protected health information
(PHI) disclosed pursuant to this authorization may be subject to redisclosure by the
recipients on the terms and conditions set forth in the case management order(s) governing
the subject lawsuit, and that, in such case, the disclosed PHI will no longer be protected by

45 CFR Section 164, Subpart E.
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 54 of 56 PAGEID #: 1665

I have read the foregoing Authorization and understand that it will permit the entity identified above
to disciose PHI to Litigation Management Inc.

 

 

 

Signature Name
Former/Alias/Maiden Name
Date
Date of Birth

 

 

Social Security Number

 

Address
Case: 2:18-md-02846-EAS-KAJ Doc #: 109 Filed: 03/08/19 Page: 55 of 56 PAGEID #: 1666

AUTHORIZATION TO DISCLOSE PSYCHIATRIC RECORDS AND PSYCHOTHERAPY
NOTES INFORMATION

To:

For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to Litigation Management Inc., 6000 Parkland
Bivd., Mayfield Hts. OH, any and all psychiatric records and psychotherapy notes records,
including those that may contain protected health information (PHI)
regarding «Namel», whether created before or after
the date of signature. Records requested may include, but are not limited to:

complete copies of all psychiatric records and psychotherapy notes reports, therapist's
notes, social worker's records, all medical records, physicians' records, surgeons’ records,
pathology/cytology reports, laboratory reports, discharge summaries, progress notes,
consultations, prescriptions, records of drug abuse and alcohol abuse, physicals and
histories, nurses' notes, correspondence, insurance records, consent for treatment,
statements of account, itemized bilis, invoices, or any other papers conceming any
treatment, examination, periods or stays of hospitalization, confinement, diagnosis or
other information pertaining to and concerning the physical or mental condition of this
patient, or documents containing information regarding amendment of protected health
information (PHI) in the medical records. Copies, NOT originals, of all x-rays, CT scans,
MRI films, photographs, and any other radiological, nuclear medicine, or radiation
therapy films and of any corresponding reports. I expressly request that all covered
entities under HIPAA identified above disclose full and complete protected medical
information.

Because this litigation is ongoing, it is essential that you preserve the original medical records, radiology,
pathology/cytology slides, tissue/cell blocks, and any recut slides that are in your possession, as an expert
may need to examine these slides and blocks in the future. Please take all steps that are necessary to
preserve the medical records, radiology films, slides and blocks, and any recut slides that remain in your
possession.

To my medical provider: this authorization is being forwarded by, or on behalf of,
attorneys for the defendants. This document does not authorize you to discuss with any
individual any aspect of the above-named person's medical history, care, treatment,
diagnosis, prognosis, information revealed by or in the medical records, or any other
matter bearing on his or her medical or physical condition. This document does not limit
your ability to testify at deposition or trial about any aspect of the above-named person's
medical history, care, treatment, diagnosis, prognosis, information revealed by or in the
medical records, or any other matter bearing on his or her medical or physical condition.

I do not authorize any ex parte verbal/oral communication concerning the subject matter of this
authorization.

Unless revoked in writing, this authorization shall be valid for the period of litigation in Jn re: Davol,
Inc/C.R. Bard, Inc. Polyprepylene Hernia Mesh Products Liability Litigation, MDL 2:18-
md-02846; U.S. District Court for the Southern District of Ohio, including any and all transfers
and the exhaustion of all appeals. In addition, a copy of this authorization may be used in place of
and with the same force and effect as the original.
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NOTICE

¢ The individual signing this authorization has the right to revoke this authorization at any
time, but shall provide a copy of the revocation to «Firm» and/or «ThirdParty_Vendor»,
except to the extent that the entity has already relied upon this Authorization to disclose
protected health information (PHI).

¢ The individual signing this authorization understands that the covered entity to whom this
authorization is directed may not condition treatment, payment, enrollment or eligibility
benefits on whether or not the individual signs the authorization.

e The individual signing this authorization understands that protected health information
(PHI) disclosed pursuant to this authorization may be subject to redisclosure by the
recipients on the terms and conditions set forth in the case management order(s) governing
the subject lawsuit, and that, in such case, the disclosed PHI will no longer be protected by
45 CFR Section 164, Subpart E.

T have read the foregoing Authorization and understand that it will permit the entity identified above to
disclose my PHI, including psychiatric records and psychotherapy notes records and information, to
Litigation Management Inc. I further understand that records pertaining te psychiatric records
and psychotherapy notes information may be specifically protected by federal and/or state
regulations; by signing this authorization I am allowing the disclosure of any psychiatric records and
psychotherapy notes information held by the entity identified above.

 

Signature Name

 

Former/Alias/Maiden Name

 

Date

 

Date of Birth

 

Social Security Number

 

Address
